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                      AFFIDAVIT IN SUPPORT OF SEARCH WARRANT

      I, Daniel DeAntonio, Special Agent with Federal Bureau of Investigation (FBI), being
      duly sworn, depose and state as follows:

                   INTRODUCTION AND BACKGROUND INFORMATION

1.        I am a Special Agent (SA) with the Federal Bureau of Investigation (FBI) assigned to
       the FBI Tucson Resident Agency, Tucson, Arizona. I have been a Special Agent since
       January, 2019. I am currently assigned to investigations involving crimes in Indian
       Country, which includes attempted murder and aggravated assault. I have investigated
       these types of crimes during my career with the FBI. The statements contained in this
       Affidavit are based on my experience and background as a Special Agent and on
       information provided by other FBI Agents and law enforcement agents.
 2.          I submit this application and affidavit in support of a search warrant authorizing a
      search of the SUBJECT VEHICLE further described in Attachments A and B,
      incorporated herein by reference, which is located in the District of Arizona. Located
      within the SUBJECT VEHICLE and the RESIDENCE to be searched, I seek to seize
      evidence, fruits, and instrumentalities of the foregoing criminal violations. I request
      authority to search the SUBJECT VEHICLE and the RESIDENCE, including any
      computer and computer media located therein where the items specified in Attachment B
      may be found, and to seize all items listed in Attachment B as contraband and
      instrumentalities, fruits, and evidence of crime.
 3.          The statements contained in this affidavit are based in part on: information provided
      by FBI Special Agents; written reports about this investigation that I have received, directly
      or indirectly, from other law enforcement agents, information gathered from the service of
      administrative subpoenas; the results of physical and electronic surveillance conducted by
      law enforcement agents; and my experience, training and background as a Special Agent
      with the FBI. Because this affidavit is being submitted for the limited purpose of securing
      authorization for the requested search warrant, I have not included each and every fact
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      known to me concerning this investigation. Instead, I have set forth only the facts that I
      believe are necessary to establish the necessary foundation for the requested warrant.
 4.          To my knowledge, no prior attempt by investigative or legal process has been
      submitted to obtain the same or similar information sought in this warrant application. The
      target of the investigation is likely unaware of the existence of this investigation, has not
      been contacted, and therefore has made no statements to the effect that he would preserve
      the original data in lieu of seizure.
                                          PROBABLE CAUSE

5.     On 06/06/2024, FBI Tucson Resident Agency received information from TFO Detective
       Christian Ralls from the Pascua Yaqui Tribal Police Department. TFO Ralls advised that
       on 06/06/2024, at approximately 2311hrs, an unknown male shot at I. C. (hereinafter
       referred to a Victim 1), date of birth 2009, in the area of 5160 Toroko Vampo, which is
       located on the Pascua Yaqui Indian Reservation. The unknown male was the passenger
       in a black Mercedes vehicle (hereinafter referred to as SUBJECT VEHICLE). FBI
       processed the scene and collected twelve (12) 7.62 shell casings. The casings were in the
       roadway and at the start of the northern residence’s property.
6.     Victim 1 was interviewed on scene and explained a black Mercedes drove by his
       residence, 5160 Toroko Vampo, multiple times prior to the shooting. Victim 1 explained
       that they were sitting outside at the box (power box), and observed the SUBJECT
       VEHICLE driving by. the SUBJECT VEHICLE kept driving by. The SUBJECT
       VEHICLE stopped and the person in the car asked him to come over. Victim 1 told
       everyone else to go inside. When Victim 1 went up to the SUBJECT VEHICLE, the
       driver, who was a female, told him to go to the other side. When Victim 1 went to the
       other side the male in the passenger seat pulled out an AK-47 and started shooting. Victim
       1 described the SUBJECT VEHICLE as a black Mercedes. Victim 1 knew it to be a
       Mercedes because of the logo on the front. When the vehicle stopped, it stopped just east
       of his house's driveway, and was facing east. When Victim 1 went around to the
       passenger’s side he saw the AK-47. It was a male with curly hair holding the AK-47. The
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     male's hair was like an “afro,” but he was light skinned. There was another male in the
     back of the car. He had curly hair too but not as curly as the male in the passenger seat.
     This male's hair was shorter. The driver was a female. Victim 1 said the passenger who
     shot at him was probably 17 years old. Victim 1 stated he never saw him before. When
     Victim 1 saw the AK-47, the male then cocked it. Victim 1 hid behind the back of the
     SUBJECT VEHICLE and the passenger started to shoot. Victim 1 did not hear any doors
     but heard the windows go down. Victim 1 ran toward the cemetery (west) and then cut
     down the alley. Victim 1 thought he heard about 10 shots and Victim 1 could hear the
     rounds go by him. Victim 1 thought that bullets went down the road (west). Victim 1
     described the AK-47 as having a wooden stock and handle. The other parts of the gun
     were black. The magazine for the AK-47 was curved and looked like a regular banana
     clip. Victim 1 explained he had never seen the SUBJECT VEHICLE before but explained
     it looked like a race car. The female driver did not call Victim 1 over by name. The female
     looked like she was 16 years old and was a little bit younger than the male. The female
     was short and was wearing shorts with a shirt over her shoulder. The female was medium
     build and there was nothing else he remembered about her. Victim 1 explained SUBJECT
     VEHICLE s Mercedes logo in the grille of the car was lit up. Victim 1 did not know
     anyone who had a Mercedes and explained the SUBJECT VEHICLE was newer. The
     SUBJECT VEHICLE was loud and sounded like it had a straight pipe (no or modified
     muffler). Victim 1 clarified that the male that shot was Mexican, skinny, and tall. Victim
     1’s brother F. C. (hereinafter referred to as Witness 1), date of birth 2011, was present
     when the SUBJECT VEHICLE drove by, prior to the shooting.
7.   Witness 1 was also interviewed on 06/07/2024. Witness 1 explained that SUBJECT
     VEHICLE drove past them and then stopped while his brother (Victim 1), friend and
     himself were at the green box. The people in the SUBJECT VEHICLE said something
     and Victim 1 told the people in the SUBJECT VEHICLE to get out of here. the SUBJECT
     VEHICLE came back again and Victim 1 told Witness 1 to go back inside. After Witness
     1 went inside he heard about 10 shots. Witness 1 described the SUBJECT VEHICLE as
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     a Mercedes that had a glowing logo on the front of the car. the SUBJECT VEHICLE was
     newer and was black. The driver of the SUBJECT VEHICLE was a female, and the
     passenger was a male with curly hair. There was a person in the back seat, and they were
     wearing a mask that only showed their eyes. The mask was black. Witness 1 described
     the female as wearing a pink or white dress. The female's hair was black and blonde, and
     her face was kind of chubby. Witness 1 described her face as being Asian, but she was
     white. Witness 1 described the male passenger with the curly hair as having dark skin like
     his. Witness 1 never saw the SUBJECT VEHICLE before. The SUBJECT VEHICLE
     stopped east of their driveway and was facing east. Witness 1 explained the passenger
     with curly hair had it cropped and together. Witness 1 explained he would be able to
     identify the passenger if he saw a photo of him. The passenger was sticking out of the
     front passenger window and was sitting on the rolled down window, with his head out of
     the SUBJECT VEHICLE. The passenger was wearing all black and had jacket on. The
     passenger in the back was wearing a hat. Witness 1 could not see the license plate, but
     recalled it being black with white numbers. Witness 1 believed that the shooter lived on
     the south side of Tucson. Witness 1 explained that Victim 1 used to text the shooter and
     that Victim 1 had beat the shooter up before. Witness 1 did not know his name but thought
     Victim 1 said “Art” or “Art Packs” when the SUBJECT VEHICLE drove by. Witness 1
     explained that Victim 1 was scared of the shooter and that's why he didn't want to say
     anything. Witness 1 explained that Victim 1 fought Art at Spectrum and did not know if
     police came. After Witness 1 heard the shots, he ran outside. the SUBJECT VEHICLE
     was driving away. Witness 1 ran down the street to the west. While running Witness 1
     heard two more shots.
8.   J. G.-F. (hereinafter referred to as Witness 2), date of birth 2010, was interviewed on
     06/07/2024. Witness 2 explained that they were just standing by the box. The SUBJECT
     VEHICLE kept passing by them, back and forth. Witness 2 explained that the SUBJECT
     VEHICLE was a Mercedes. The logo on the SUBJECT VEHICLE was lit up and the car
     was black. When the SUBJECT VEHICLE drove by the first time, it was driving at a
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      normal speed. When it drove by the second time, it was driving slowly. The SUBJECT
      VEHICLE sounded normal. After hearing the shots, Witness 2 went outside. They all
      started running down the road. Witness 2 remembered a female was driving and there was
      a male in the passenger. The female’s hair was back, and she was Mexican or white. She
      appeared to be medium build. Witness 2 could only see her face. The male had curly hair,
      but he did not know who they were. Witness 2 couldn't really see their faces.
9.    A. B. (hereinafter referred to as Witness 3), date of birth 2004, was interviewed on
      06/11/2024. Witness 3 explained that a guy was driving around in Pascua Yaqui, in a
      black Mercedes. This guy drove up on Witness 3’s friend Aaron. The people in the
      Mercedes were driving in and around Pascua Yaqui. The people also shot at people on
      the reservation. Witness 3 believed they were around 19 to 20 years old. The people in
      the Mercedes were part of a gang called OTBG. Witness 3 did not know what OTBG
      stood for, and explained that they were Mexican and black. Witness 3 did not know who
      shot from the Mercedes, but his friend Aaron did. Aaron sent Witness 3 a photo of the
      person that pulled up onto him (Aaron) on the reservation. Aaron told Witness 3 that the
      person in the Mercedes showed him a gun. The gun that was shown to Aaron was the
      same gun that was in the photo Aaron sent Witness 3. The person from the photo Aaron
      sent Witness 3 showed a younger, light skinned male, with curly hair. When they rolled
      up on Aaron there were other people in the Mercedes. Witness 3 stated OTBG were off
      the reservation but may be Pascua Yaqui members. Witness 3 did not know if Victim 1
      knew who the shooter was. Witness 3 doesn't know Victim 1 and Witness 1 that well and
      just started hanging out with them. Witness 3 agreed to send the photos that Aaron had
      sent him. A description of the photos are below.
     - Photo 1 depicts a male holding what appears to be a rifle. The male had a cropped type
     of haircut and he is standing in front of a red brick house with bars over a window. The
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male is wearing a black shirt with white writing, blue pants, a white belt, and white colored
shoes. The front of a black Mercedes vehicle can also be seen.




- Photo 2 depicts a male holding what appears to be a black handgun. The male had a
cropped type of haircut and he is standing inside a room with a refrigerator and some type
of door. A black rifle, which appears to be a AK-47 style rifle, can be seen leaning against
the wall. The male is wearing a black shirt with white writing, blue pants, a white belt, and
white colored shoes.
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- Photo 3 depicts a male holding what appears to be a AK-47 style rifle, with a banana type
magazine. The male had a cropped type of haircut and he is standing in front of a red brick
house with bars over a window. The male is wearing a black shirt with white writing, blue
pants, a white belt, and white colored shoes. The front of a black Mercedes vehicle can also
be seen.
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10.    The photos appeared to be from an Instagram account with the user name of “hopoutart”.
       The Instagram account was located and viewable. A post from the user showed a black
       Mercedes bearing temporary tag 274927U. A query of AZ MVD for this temporary tag
       found it was associated with Arturo Garcia DOB: 05/11/1969 and was the SUBJECT
       VEHICLE, a black 2018 Mercedes Benz CLA. An open source query of Arturo Garcia
       found a relative named Arturo Garcia Hernandez (hereinafter referred to as ARTURO)
       DOB: 12/06/2005. A query of AZ MVD revealed an AZ driver’s license with a picture
       that visually matched the user of the Instagram account.
      Name: Arturo Garcia Hernandez
      DOB: 12/06/2005
      SSN: XXX-XX-XXXX
      AZ DL: D07735838
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      A related Instagram account with username “art.packk” was also identified and a
      screenshot of that account is below.




11.    A preservation request was submitted for both accounts on 06/12/2024, under Meta Case
       # 8736496.
12.    A search for ARTURO was conducted and it showed he had an involvement with Tucson
       Police Department (TPD) on 06/09/2024, for a Domestic Violence incident. ARTURO
       was not at the scene when TPD arrived. According to reports, ARTURO physically
       assaulted his girlfriend K. M., date of birth 2005, at 5525 S Mission Road, Apt 3201. Also
       present during this TPD incident was her roommate I. G. I. G. was the person who called
       911. ARTURO had a stop and arrest flag placed on him.
13.    On 06/12/2024, I. G. was interviewed by FBI Agents. I. G. explained that ARTURO was
       her roommate K. M.’s boyfriend. ARTURO had stayed at the apartment and had just
       recently had a domestic incident with K. M. I. G. explained that ARTURO had pointed a
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       gun at their apartment in the past. I. G. described the gun as being a black colored AK-
       47. I. G. provided phone number 520-565-7715 as ARTURO’s phone number. ARTURO
       and K. M. drove around all day and sold weed. That was how ARTURO made his money.
       I. G. explained that last week, ARTURO and K. M. went to do a sale on the Pascua Yaqui
       Indian Reservation. While doing the sale, ARTURO shot his AK-47 at someone, and K.
       M. was driving the Mercedes. I. G. confirmed that ARTURO drove and owned a black
       Mercedes. ARTURO took the AK-47 and all the money when he left I. G.’s apartment on
       06/09/2024, before the police arrived. I. G. believed that ARTURO has the AK-47 with
       him. I. G. was sure the AK-47 was not in her apartment. I. G. knew ARTURO to also
       have a handgun. I. G. confirmed that ARTURO had an I-Phone 15 and he used it to
       facilitate his drug deals. It was also how ARTURO communicated.
14.    On 06/12/2024, TPD Officers located the SUBJECT VEHICLE, within the city limits of
       Tucson. TPD Officers observed a male in the passenger seat that matched ARTURO’s
       description. TPD was able to confirm ARTURO was in fact in the passenger seat. TPD
       had an active arrest warrant for ARTURO, related to the 06/09/2024 Domestic Violence
       incident. TPD Officers followed the SUBJECT VEHICLE to 1205 E Greenlee Road,
       Tucson, AZ. TPD Officers observed ARTURO exit the vehicle and enter into Unit #7
       (hereinafter referred to as the RESIDENCE). TPD SWAT Team arrived and called
       ARTURO out of the RESIDENCE. After some time ARTURO exited the RESIDENCE
       and was arrest by TPD. ARTURO did not have any weapons or cell phones on his person.
       The RESIDENCE is a second story apartment with an unknown number.
          TECHNICAL BACKGROUND REGARDING THE VEHICLE AND ITS
                      INFOTAINMENT AND TELEMATICS SYSTEMS
15.   Based on my training and experience, as well as discussions with other experienced law
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    enforcement officers and witnesses, I have learned that:
             a. Many modern motor vehicles are equipped with sensors, cameras, 1
                transmitters, and electronic control units (ECUs) 2 to monitor and manage
                vehicle operations, track vehicle movement, and exchange information with
                other vehicles and infrastructure. 3 These systems also enable motor vehicles
                to interface with various types of mobile devices to facilitate the use of
                applications,   including    third-party    navigation,     wireless    telephone,
                multimedia streaming, and the like. To perform these computing functions,
                modern motor vehicles collect, process, and store significant volumes of
                data.
             b. Two commonly installed ECUs within motor vehicles are infotainment and
                telematics systems—sometimes referred to as the Telematics Control Unit



1      As of 2018, the US National Highway Safety Transportation Agency requires new motor
vehicles sold in the United States to have backup cameras installed by the manufacturer.
2       “ECU” is a generic term applied to any embedded computer that controls one or more
electrical systems within a vehicle. ECUs are typically installed in a vehicle by the original
equipment manufacturer during the manufacturing process. There are many types of ECUs, and
as vehicles have more features each year, the number of ECUs in each motor vehicle increases.
Newer motor vehicles can integrate as many as 150 ECUs, ensuring, in theory, that each part of
the motor vehicle is running properly. Some examples of common ECUs include the Engine
Control Module, Transmission Control Module, Brake Control Module, and Suspension Control
Module, as well as the Telematics Control Unit and Infotainment Control Unit.
3       The infotainment and telematics systems in motor vehicles are not the same as “black
box” recorders. Black box recorders are called event data recorders (EDRs) or crash data
recorders. These black box recorders can record vehicle speed, engine speed, steering angle,
throttle position, braking status, force of impact, seatbelt status, and airbag deployment. In 2006,
the US National Highway Traffic Safety Administration (NHTSA) adopted regulations requiring
EDRs to uniformly collect certain crash data to assist crash investigators with accident
reconstruction efforts. In 2012, NHTSA proposed requiring manufacturers to install EDRs in all
new cars and trucks, but in 2019, the NHTSA withdrew the proposal because automakers have
voluntarily installed the devices in nearly all vehicles.
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     and the Infotainment Control Unit. These systems typically retain large
     amounts of user data within the vehicle.
  c. A vehicle’s infotainment system combines hardware and software to provide
     entertainment features. Many infotainment systems allow drivers and
     passengers to connect their handheld electronic devices to the vehicle. When
     connected, the driver and/or passengers may gain access to, for example,
     Global Positioning System (GPS) navigation, video players, music
     streaming, voice calling, texting, and traffic data. Many systems enable
     talking hands-free with Bluetooth connectivity, listening to music, watching
     videos, or pulling up a mapped route to a destination. Many of these features
     are accessible via the (usually interactive) console located on the front
     dashboard of the vehicle.
  d. A vehicle’s telematics system typically collects and stores diagnostic data
     from various systems (other ECUs) within the vehicle, including historical
     navigation points, speed, and event data. Historical event data may include
     information regarding when the car’s trunk, doors, and windows opened and
     closed, when headlights turned on and off, and when gears changed or brakes
     were engaged.
  e. The main difference between the infotainment and telematics systems is that
     the infotainment system is about entertainment for the occupants of the
     vehicle, and the telematics system is for collecting and reporting
     (transmitting)   information—such    as vehicle    use data, maintenance
     requirements, and automotive servicing—about          the vehicle. Typical
     telematics data may include turn-by-turn navigation, remote access,
     emergency calling, and maintenance notifications. Examples of vehicle
     telematics systems include General Motors’ OnStar, BMW’s “Assist,” and
     Mercedes’ “mbrace.” Some of these systems are integrated multimedia
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     navigation and telematics systems in one (combined infotainment/telematics
     systems), like Toyota’s “Entune” and Ford’s “Sync.”
  f. The data generated, collected, transmitted, and retained by motor vehicles
     can provide valuable information in law enforcement investigations of
     crimes. For example, many infotainment systems support the importation of
     content and other data information from a particular user’s mobile device.
     Such data may include content that may provide attribution to particular
     user(s), including mobile device identifiers, wireless telephone numbers,
     user account details, passwords, user voice profiles, contact lists, call logs,
     text messages, pictures, e-mail, videos, web history, GPS coordinates, and
     other historical navigation information.
  g. I am aware that the computers (ECUs) within many motor vehicles store data
     for prolonged periods of time. Furthermore, even after a previously-
     connected mobile device is removed from the physical vehicle, data may
     remain within the digital storage of the system. Such stored data can be used
     to identify locations, victims, witnesses, associates, and co-conspirators and
     may include communications and images of criminal activity. In sum, a
     forensic examination of a motor vehicle’s infotainment and telematics
     systems may reveal the vehicle’s GPS location information, movements,
     operations, and user data at critical moments before, during, and after the
     commission of a crime.
  h. As previously stated, the SUBJECT VEHICLE is a 2018 Black , Mercedes
     Benz CLA VIN WDDSJ4EBXJN676666, bearing Arizona registration plate
     AEA89W. To complete a forensic extraction from the SUBJECT VEHICLE,
     it may be necessary, temporarily, to remove trim and other components of
     the SUBJECT VEHICLE to access the information subject to search. It may
     also be necessary to repair the device, replace the screen, reconnect wires,
     and replace batteries. It may be necessary to employ advanced forensic
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                    processes to bypass locked display screens and other data access restrictions.
                    Advanced processes may include potentially destructive forensic techniques
                    used to remove memory chips from computers and other electronic storage
                    containers that may be found within the SUBJECT VEHICLE. In the event
                    that potentially destructive processes are required to perform this extraction,
                    parts of the SUBJECT VEHICLE may be destroyed and rendered useless.
                i. Furthermore, it may be necessary to return to the SUBJECT VEHICLE and
                    reconnect the infotainment and telematics systems to the SUBJECT
                    VEHICLE’s power source to perform the extraction using forensic software.
                    This is because there are various computer networks working simultaneously
                    when a vehicle is powered on, and in some vehicles, the infotainment and
                    telematics systems require the other networks to work in tandem to complete
                    the data extraction.
                j. The requested warrant authorizes a later review of the media and information
                    seized or copied from the SUBJECT VEHICLE, which review may continue
                    past the date required for execution of the warrant.


                                           CONCLUSION

16.   I submit that this affidavit supports probable cause for a warrant authorizing the search of

       the SUBJECT VEHICLE and extraction and forensic examination of electronically stored

       information within the SUBJECT VEHICLE (as described in Attachment A) to seize the

       data described in Attachment B. Also, the search for any ammunition, casings, firearms,

       firearm parts, firearm accessories, receipts of firearm purchases, and cell phones. This

       affidavit also supports probable cause to search the RESIDENCE for the items withing

       Attachment B. Further, as TPD officers have arrested ARTURO and are standing by the
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 location of the RESIDENCE and have secured the SUBJECT VEHCILE, I respectfully

 submit there is reasonable cause to execute this search warrant at any time. The items and

 data will provide evidence related to the crimes involving Attempted Murder, in violation

 of Title 18 United States Code 1113 and Assault with a Dangerous Weapon, in violation

 of Title 18 United States Code 113(a)(1).


                                                       Respectfully Submitted,

                                                       DANIEL        Digitally signed by DANIEL
                                                                     DEANTONIO
                                                       DEANTONIO Date: 2024.06.12 21:57:17 -07'00'
                                                       ___________________________
                                                       Special Agent Daniel DeAntonio
                                                       Federal Bureau of Investigation


Subscribed and sworn telephonically
        ___h d ay of June, 2024
on this 12t




______________________________
Honorable Lynnette Kimmins United
States Magistrate Judge
